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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 BENNETT ON-SITE SERVICES, LLC,                     §
                                                    §
         Plaintiff,                                 §
                                                    §
 v.                                                 §   Civil Action No. 7:21-cv-00053-O
                                                    §
 VESTAS-AMERICAN WIND                               §
 TECHNOLOGY, INC. et al,                            §
                                                    §
         Defendants.                                §

      ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND RECOMMENDATION
                OF THE UNITED STATES MAGISTRATE JUDGE

        The United States Magistrate Judge made Findings, Conclusions, and a Recommendation

in this case (ECF No. 12), issued on August 12, 2021. No objections were filed, and the Magistrate

Judge’s Recommendation is ripe for review. The District Judge reviewed the proposed Findings,

Conclusions, and Recommendation for plain error. Finding none, the undersigned District Judge

believes that the Findings and Conclusions of the Magistrate Judge are correct, and they are

accepted as the Findings and Conclusions of the Court.

        Accordingly, the Court GRANTS Joint Motion to Stay All Proceedings Pending

Arbitration. The Court ORDERS the parties to file a joint status report on the earlier of (1) ten

days after they resolve the claims at issue in this case or (2) September 16, 2022. The Clerk is

directed to close this case for statistical purposes.

        SO ORDERED on this 27th day of September, 2021.


                                                         _____________________________________
                                                         Reed O’Connor
                                                         UNITED STATES DISTRICT JUDGE




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